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    April 16, 2018


    VIA ECF

    The Honorable Nicholas G. Garaufis
    United States District Judge
    United States District Court for the Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

    Re:      L&M Bus Corp., et al. v. Bd. of Educ. of the City Sch. Dist. of City of N.Y.,
             Case No. 18-cv-01902 (NGG) (SMG)

    Dear Judge Garaufis:

    Defendant the New York City Department of Education (the “DOE”) submits this letter in response
    to the motion for leave to file an amicus brief submitted by International Brotherhood of
    Teamsters, Local 553 (“Local 553”) (Doc. No. 30). The DOE does not oppose Local 553’s being
    permitted to submit an amicus brief, so long as the DOE is given an opportunity to respond. The
    DOE disagrees that its Request for Bids or any part of the current contracting process is
    preempted, as set forth in the DOE’s papers opposing Plaintiffs’ motion for a TRO and preliminary
    injunction. Accordingly, should the Court permit Local 553 to file an amicus brief, the DOE
    respectfully requests that it be permitted to respond to those papers on April 24, 2018, when
    Plaintiffs’ papers are due.

    Thank you for your consideration.

    Respectfully,

    /s/ Melissa D. Hill
    Melissa D. Hill




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